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   9   David Dunn, Nicholas Aguilera, Joseph Bick, Ray
       Andreasen, Nabil Athanassious, Eli Richman,
  10   Balraj Dhillon, and Deepak Mehta
  11
                       IN THE UNITED STATES DISTRICT COURT
  12
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
  13
  14
       WILLIAM J. RICHARDS,                      5:18-cv-00912-JGB-SHK
  15
                              Plaintiff, DEFENDANTS JOHN PARSONS,
  16                                     DONALD B. THORNTON,
                   v.                    BONIFACIO C. ESPERANZA,
  17                                     JOHN CULTON, DAVID DUNN,
       CHARLES PICKETT, JOHN             NICHOLAS AGUILERA, JOSEPH
  18   PARSONS, DONALD B.                BICK, RAY ANDREASEN, NABIL
       THORNTON, BONIFACIO C.            ATHANASSIOUS, ELI RICHMAN,
  19   ESPERANZA, JOHN CULTON,           BALRAJ DHILLON, AND
       DAVID DUNN, NICHOLAS              DEEPAK MEHTA’S ANSWER TO
  20   AGUILERA, JOSEPH BICK, RAY        PLAINTIFF’S FIRST AMENDED
       ANDREASEN, NABIL                  COMPLAINT; DEMAND FOR
  21   ATHANASSIOUS, ELI RICHMAN,        JURY TRIAL
       BALRAJ DHILLON, DEEPAK
  22   MEHTA, JOHN PRICE, CHAU,          Courtroom: 1
       NOEL HUI, EDMUND KO,              Judge:        The Honorable Jesus G.
  23   ARROWHEAD REGIONAL                              Bernal
       MEDICAL CENTER, COUNTY OF Trial Date: none set
  24   SAN BERNARDINO, and DOES 1        Action Filed: 4/30/2018
       through 10, inclusive,
  25
                                  Defendants.
  26
  27
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   1         Defendants JOHN PARSONS, DONALD B. THORNTON, BONIFACIO C.
   2   ESPERANZA, JOHN CULTON, DAVID DUNN, NICHOLAS
   3   AGUILERA, JOSEPH BICK, RAY ANDREASEN, NABIL ATHANASSIOUS,
   4   ELI RICHMAN, BALRAJ DHILLON, and DEEPAK MEHTA (collectively,
   5   “Defendants”), in response to Plaintiff’s First Amended Complaint (Doc. #35),
   6   filed on September 14, 2018, admit, deny, and aver as follows:
   7                             JURISDICTION AND VENUE
   8         1. In response to paragraphs 1 and 2 of Plaintiff’s First Amended
   9   Complaint, Defendants admit there are federal questions, that some alleged actions
  10   or inactions occurred within the Central District, and that some Defendants are
  11   residents of California. Except as admitted herein, defendants deny any remaining
  12   allegations for lack of information and belief.
  13                                        PARTIES
  14         2. In response to paragraph 1 of Plaintiff’s First Amended Complaint,
  15   Defendants admit that Plaintiff is an adult, who was in the custody of the CDCR at
  16   various times between 1997 to 2016. Except as admitted herein, defendants deny
  17   any remaining allegations for lack of information and belief.
  18         3. In response to paragraphs 4 to 15 of Plaintiff’s First Amended Complaint,
  19   Defendants admit that the individually named Defendants were employed or
  20   otherwise agents of CDCR in the alleged time frames. Defendants deny that any
  21   medical care, attention, or treatment provided by said Defendants violated any
  22   constitutional right of Plaintiff. Defendants deny that any alleged policy, custom,
  23   or practice violated any constitutional right of Plaintiff. Except as admitted or
  24   denied herein, Defendants deny any remaining allegations for lack of information
  25   and belief.
  26         4. In response to paragraph 16 - 18 of Plaintiff’s First Amended Complaint,
  27   Defendants admit that the County of San Bernardino is a municipal entity, and that
  28   the Sheriff’s Department is one agency/subdivision of the County. As to the
                                                 2
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   1   remaining allegations against these Defendants, answering Defendants lack
   2   sufficient information to admit or deny allegations, and therefore deny the
   3   allegations on that basis.
   4             5. In response to paragraph 19 of Plaintiff’s First Amended Complaint,
   5   Defendants lack sufficient information to admit or deny allegations regarding DOE
   6   defendants, and therefore deny the allegations on that basis.
   7                                GENERAL ALLEGATIONS
   8             6. In response to paragraph 20 of Plaintiff’s First Amended Complaint,
   9   Defendants deny they were the agents or co-conspirators of any other Defendant.
  10             7. In response to paragraphs 21 to 24 of Plaintiff’s First Amended
  11   Complaint, Defendants deny they acted in concert with anyone to act unlawfully,
  12   deny they failed to implement necessary policies or training, deny they ratified any
  13   unlawful conduct, and deny they promulgated any policies, procedures, or practices
  14   that encouraged unlawful actions. Defendants deny they are jointly and severally
  15   liable. Defendants deny they acted maliciously, recklessly, or with reckless
  16   disregard to Plaintiff’s health. Defendants deny any remaining allegations herein
  17   for lack of information and belief.
  18                FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS
  19             8. In response to paragraph 25 of Plaintiff’s First Amended Complaint,
  20   Defendants deny that Plaintiff was wrongfully convicted of murdering his wife.
  21   Defendants assert that Plaintiff is guilty of the murder but that his conviction was
  22   overturned on a technicality. Defendants admit that Plaintiff was incarcerated after
  23   his conviction in 1997, and that his conviction was reversed in May 2016, and that
  24   Plaintiff was released from custody in June 2016. Except as admitted herein,
  25   Defendants deny any remaining allegations herein for lack of information and
  26   belief.
  27             9. In response to paragraph 26 of Plaintiff’s First Amended Complaint,
  28   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
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   1   personnel were employed or contracted by CDCR to provide medical services. At
   2   present, Defendants lack sufficient information to admit or deny the allegations
   3   regarding medical care and on that basis deny the allegations. Defendants deny that
   4   any medical care or supervision of medical care violated the constitutional rights of
   5   Plaintiff.
   6          10. In response to paragraph 27 of Plaintiff’s First Amended Complaint,
   7   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
   8   personnel were employed or contracted by CDCR to provide medical services. At
   9   present, Defendants lack sufficient information to admit or deny the allegations
  10   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  11   allegations. Defendants deny that any medical care or supervision of medical care
  12   violated the constitutional rights of Plaintiff.
  13          11. In response to paragraph 28 of Plaintiff’s First Amended Complaint,
  14   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  15   personnel were employed or contracted by CDCR to provide medical services. At
  16   present, Defendants lack sufficient information to admit or deny the allegations
  17   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  18   allegations. Defendants deny that any medical care or supervision of medical care
  19   violated the constitutional rights of Plaintiff.
  20          12. In response to paragraph 29 of Plaintiff’s First Amended Complaint,
  21   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  22   personnel were employed or contracted by CDCR to provide medical services. At
  23   present, Defendants lack sufficient information to admit or deny the allegations
  24   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  25   allegations. Defendants deny that any medical care or supervision of medical care
  26   violated the constitutional rights of Plaintiff.
  27          13. In response to paragraph 30 of Plaintiff’s First Amended Complaint,
  28   Defendants admit Plaintiff was in the custody of CDCR. At present, Defendants
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   1   lack sufficient information to admit or deny the allegations regarding Plaintiff’s
   2   symptoms, testing, and medical care and on that basis deny the allegations.
   3   Defendants deny that any medical care or supervision of medical care violated the
   4   constitutional rights of Plaintiff. Plaintiff’s allegations suggesting required medical
   5   protocols are incomplete and the subject of expert opinion, and on that basis are
   6   denied by Defendants.
   7         14. In response to paragraph 31 of Plaintiff’s First Amended Complaint,
   8   Defendants admit Plaintiff was in the custody of CDCR. At present, Defendants
   9   lack sufficient information to admit or deny the allegations regarding Plaintiff’s
  10   symptoms, testing, and medical care and on that basis deny the allegations.
  11   Defendants deny that any medical care or supervision of medical care violated the
  12   constitutional rights of Plaintiff. Plaintiff’s allegations regarding his general health,
  13   life expectancy, and hypothetical response to hypothetical treatments and medical
  14   protocols are incomplete and the subject of expert opinion, and on that basis are
  15   denied by Defendants.
  16         15. In response to paragraph 32 of Plaintiff’s First Amended Complaint,
  17   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  18   personnel were employed or contracted by CDCR to provide medical services. At
  19   present, Defendants lack sufficient information to admit or deny the allegations
  20   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  21   allegations. Defendants deny that any medical care or supervision of medical care
  22   violated the constitutional rights of Plaintiff.
  23         16. In response to paragraph 33 of Plaintiff’s First Amended Complaint,
  24   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  25   personnel were employed or contracted by CDCR to provide medical services. At
  26   present, Defendants lack sufficient information to admit or deny the allegations
  27   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
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   1   allegations. Defendants deny that any medical care or supervision of medical care
   2   violated the constitutional rights of Plaintiff.
   3          17. In response to paragraph 34 of Plaintiff’s First Amended Complaint,
   4   Defendants admit Plaintiff was in the custody of CDCR. At present, Defendants
   5   lack sufficient information to admit or deny the allegations regarding the scope of
   6   Plaintiff’s medical record review by any (unidentified) CDCR personnel.
   7   Defendants deny that any medical care or supervision of medical care violated the
   8   constitutional rights of Plaintiff.
   9          18. In response to paragraph 35 of Plaintiff’s First Amended Complaint,
  10   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  11   personnel were employed or contracted by CDCR to provide medical services. At
  12   present, Defendants lack sufficient information to admit or deny the allegations
  13   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  14   allegations. Defendants deny that any medical care or supervision of medical care
  15   violated the constitutional rights of Plaintiff.
  16          19. In response to paragraph 36 of Plaintiff’s First Amended Complaint,
  17   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  18   personnel were employed or contracted by CDCR to provide medical services. At
  19   present, Defendants lack sufficient information to admit or deny the allegations
  20   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  21   allegations. Defendants deny that any medical care or supervision of medical care
  22   violated the constitutional rights of Plaintiff. Plaintiff’s allegations regarding his
  23   general health, medical condition, and hypothetical response to hypothetical
  24   treatments and medical protocols are incomplete and the subject of expert opinion,
  25   and on that basis are denied by Defendants.
  26          20. In response to paragraph 37 of Plaintiff’s First Amended Complaint,
  27   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  28   personnel were employed or contracted by CDCR to provide medical services. At
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   1   present, Defendants lack sufficient information to admit or deny the allegations
   2   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
   3   allegations. Defendants deny that any medical care or supervision of medical care
   4   violated the constitutional rights of Plaintiff.
   5         21. In response to paragraph 38 of Plaintiff’s First Amended Complaint,
   6   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
   7   personnel were employed or contracted by CDCR to provide medical services. At
   8   present, Defendants lack sufficient information to admit or deny the allegations
   9   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  10   allegations. Defendants deny that any medical care or supervision of medical care
  11   violated the constitutional rights of Plaintiff.
  12         22. In response to paragraph 39 of Plaintiff’s First Amended Complaint,
  13   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  14   personnel were employed or contracted by CDCR to provide medical services. At
  15   present, Defendants lack sufficient information to admit or deny the allegations
  16   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  17   allegations. Defendants deny that any medical care or supervision of medical care
  18   violated the constitutional rights of Plaintiff.
  19         23. In response to paragraph 40 of Plaintiff’s First Amended Complaint,
  20   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  21   personnel were employed or contracted by CDCR to provide medical services. At
  22   present, Defendants lack sufficient information to admit or deny the allegations
  23   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  24   allegations. Defendants deny that any medical care or supervision of medical care
  25   violated the constitutional rights of Plaintiff. Plaintiff’s allegations regarding his
  26   general health, medical condition, and hypothetical response to hypothetical
  27   treatments and medical protocols are incomplete and the subject of expert opinion,
  28   and on that basis are denied by Defendants.
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   1         24. In response to paragraph 41 of Plaintiff’s First Amended Complaint,
   2   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
   3   personnel were employed or contracted by CDCR to provide medical services. At
   4   present, Defendants lack sufficient information to admit or deny the allegations
   5   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
   6   allegations. Defendants deny that any medical care or supervision of medical care
   7   violated the constitutional rights of Plaintiff. Plaintiff’s allegations regarding his
   8   general health, medical condition, and hypothetical response to hypothetical
   9   treatments and medical protocols are incomplete and the subject of expert opinion,
  10   and on that basis are denied by Defendants.
  11         25. In response to paragraph 42 of Plaintiff’s First Amended Complaint,
  12   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  13   personnel were employed or contracted by CDCR to provide medical services. At
  14   present, Defendants lack sufficient information to admit or deny the allegations
  15   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  16   allegations. Defendants deny that any medical care or supervision of medical care
  17   violated the constitutional rights of Plaintiff.
  18         26. In response to paragraph 43 of Plaintiff’s First Amended Complaint,
  19   Defendants admit Plaintiff was in the custody of CDCR, and the named medical
  20   personnel were employed or contracted by CDCR to provide medical services. At
  21   present, Defendants lack sufficient information to admit or deny the allegations
  22   regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  23   allegations. Defendants deny that any medical care or supervision of medical care
  24   violated the constitutional rights of Plaintiff.
  25         27. In response to paragraph 44 of Plaintiff’s First Amended Complaint,
  26   Defendants admit Plaintiff was in the custody of CDCR, for portions of the 2008-
  27   2016 period, and the named medical personnel were employed or contracted by
  28   CDCR to provide medical services. At present, Defendants lack sufficient
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   1   information to admit or deny the allegations regarding Plaintiff’s symptoms,
   2   testing, and medical care and on that basis deny the allegations. Defendants deny
   3   that any medical care or supervision of medical care violated the constitutional
   4   rights of Plaintiff.
   5          28. In response to paragraph 45 of Plaintiff’s First Amended Complaint,
   6   Defendants admit Plaintiff was in the custody of CDCR, for portions of the 2008-
   7   2010 period, and in the custody of San Bernardino County for other portions of the
   8   2008-2013 period.
   9          29. In response to paragraph 46 of Plaintiff’s First Amended Complaint,
  10   these allegations concern County defendants, and therefore are not addressed by the
  11   CDCR defendants due to lack of information and belief.
  12          30. In response to paragraph 47 of Plaintiff’s First Amended Complaint,
  13   Defendants admit Plaintiff was in the custody of CDCR, for portions of the 2007-
  14   2008 period, and the named medical personnel were employed or contracted by
  15   CDCR to provide medical services. At present, Defendants lack sufficient
  16   information to admit or deny the allegations regarding Plaintiff’s symptoms,
  17   testing, and medical care and on that basis deny the allegations. Defendants deny
  18   that any medical care or supervision of medical care violated the constitutional
  19   rights of Plaintiff.
  20          31. In response to paragraph 48 of Plaintiff’s First Amended Complaint,
  21   Defendants admit Plaintiff was in the custody of CDCR, for portions of the 2008-
  22   2012 period, and the named medical personnel were employed or contracted by
  23   CDCR to provide medical services. At present, Defendants lack sufficient
  24   information to admit or deny the allegations regarding Plaintiff’s symptoms,
  25   testing, and medical care and on that basis deny the allegations. Defendants deny
  26   that any medical care or supervision of medical care violated the constitutional
  27   rights of Plaintiff. Plaintiff’s allegations regarding his general health, medical
  28   condition, and hypothetical response to hypothetical treatments and medical
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   1    protocols are incomplete and the subject of expert opinion, and on that basis are
   2    denied by Defendants.
   3          32. In response to paragraph 49 of Plaintiff’s First Amended Complaint,
   4    Defendants admit Plaintiff was in the custody of CDCR, for some portion of the
   5    “several years” period alleged, and the named medical personnel were employed or
   6    contracted by CDCR to provide medical services. At present, Defendants lack
   7    sufficient information to admit or deny the allegations regarding Plaintiff’s
   8    symptoms, testing, and medical care and on that basis deny the allegations.
   9    Defendants deny that any medical care or supervision of medical care violated the
  10    constitutional rights of Plaintiff. Plaintiff’s allegations regarding his general health,
  11    medical condition, and hypothetical response to hypothetical treatments and
  12    medical protocols are incomplete and the subject of expert opinion, and on that
  13    basis are denied by Defendants.
  14          33. In response to paragraph 50 of Plaintiff’s First Amended Complaint,
  15    Defendants admit Plaintiff was in the custody of CDCR, for some portion of the
  16    period alleged, and the named medical personnel were employed or contracted by
  17    CDCR to provide medical services. At present, Defendants lack sufficient
  18    information to admit or deny the allegations regarding Plaintiff’s symptoms,
  19    testing, and medical care and on that basis deny the allegations. Defendants deny
  20    that any medical care or supervision of medical care violated the constitutional
  21    rights of Plaintiff. Plaintiff’s allegations regarding his general health, medical
  22    condition, and hypothetical response to hypothetical treatments and medical
  23    protocols are incomplete and the subject of expert opinion, and on that basis are
  24    denied by Defendants.
  25          34. In response to paragraph 51 of Plaintiff’s First Amended Complaint,
  26    Defendants admit Plaintiff was in the custody of CDCR, for some portion of the
  27    period alleged, and the named medical personnel (excepting named County
  28    personnel) were employed or contracted by CDCR to provide medical services. At
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   1    present, Defendants lack sufficient information to admit or deny the allegations
   2    regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
   3    allegations. Defendants deny that any medical care or supervision of medical care
   4    violated the constitutional rights of Plaintiff. Plaintiff’s allegations regarding his
   5    general health, medical condition, and hypothetical response to hypothetical
   6    treatments and medical protocols are incomplete and the subject of expert opinion,
   7    and on that basis are denied by Defendants.
   8          35. In response to paragraph 52 of Plaintiff’s First Amended Complaint,
   9    Defendants admit Plaintiff was in the custody of CDCR, for some portion of the
  10    period alleged, and the named medical personnel (excepting named County
  11    personnel) were employed or contracted by CDCR to provide medical services. At
  12    present, Defendants lack sufficient information to admit or deny the allegations
  13    regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  14    allegations. Defendants deny that any medical care or supervision of medical care
  15    violated the constitutional rights of Plaintiff. Plaintiff’s allegations regarding his
  16    general health, medical condition, and hypothetical response to hypothetical
  17    treatments and medical protocols are incomplete and the subject of expert opinion,
  18    and on that basis are denied by Defendants.
  19          36. In response to paragraph 53 of Plaintiff’s First Amended Complaint,
  20    Defendants admit Plaintiff was in the custody of CDCR, for some portion of the
  21    period alleged, and the named medical personnel (excepting named County
  22    personnel) were employed or contracted by CDCR to provide medical services. At
  23    present, Defendants lack sufficient information to admit or deny the allegations
  24    regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  25    allegations. At present, Defendants lack sufficient information to admit or deny the
  26    allegations regarding any communications to or from Plaintiff’s attorneys to or
  27    from CDCR or County personnel, and on that basis deny the allegations.
  28    Defendants deny that any medical care or supervision of medical care violated the
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   1    constitutional rights of Plaintiff. Plaintiff’s allegations regarding his general health,
   2    medical condition, and hypothetical response to hypothetical treatments and
   3    medical protocols are incomplete and the subject of expert opinion, and on that
   4    basis are denied by Defendants.
   5          37. In response to paragraph 54 of Plaintiff’s First Amended Complaint,
   6    these allegations concern County defendants, and therefore are not addressed by the
   7    CDCR defendants due to lack of information and belief.
   8          38. In response to paragraph 55 of Plaintiff’s First Amended Complaint,
   9    Defendants admit Plaintiff was in the custody of CDCR, for some portion of the
  10    period alleged, and the named medical personnel (excepting named County
  11    personnel) were employed or contracted by CDCR to provide medical services. At
  12    present, Defendants lack sufficient information to admit or deny the allegations
  13    regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  14    allegations. Defendants deny that any medical care or supervision of medical care
  15    violated the constitutional rights of Plaintiff, and deny that there was any custom
  16    and practice that violated the constitutional rights of inmate patients.
  17          39. In response to paragraph 56 of Plaintiff’s First Amended Complaint,
  18    these allegations concern County defendants, and therefore are not addressed by the
  19    CDCR defendants due to lack of information and belief.
  20          40. In response to paragraph 57 of Plaintiff’s First Amended Complaint,
  21    these allegations appear to concern events during a period Plaintiff was in the
  22    custody of County defendants, and the CDCR defendants lack sufficient
  23    information to admit or deny the allegations and on that basis deny the allegations.
  24    At present, Defendants lack sufficient information to admit or deny the allegations
  25    regarding Plaintiff’s symptoms, testing, and medical care and on that basis deny the
  26    allegations. Defendants deny that any medical care or supervision of medical care
  27    violated the constitutional rights of Plaintiff. Plaintiff’s allegations regarding his
  28    general health, medical condition, and hypothetical response to hypothetical
                                                  12
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   1    treatments and medical protocols are incomplete and the subject of expert opinion,
   2    and on that basis are denied by Defendants.
   3          41. In response to paragraph 58 of Plaintiff’s First Amended Complaint,
   4    Defendants lack sufficient information to admit or deny the allegations regarding
   5    Plaintiff’s May 3, 2016 medical consultation or any symptoms, testing, and medical
   6    care and on that basis deny the allegations. Defendants deny that any medical care
   7    or supervision of medical care violated the constitutional rights of Plaintiff, and
   8    deny that there was any custom and practice that violated the constitutional rights of
   9    inmate patients. Plaintiff’s allegations regarding his general health, medical
  10    condition, and hypothetical response to hypothetical treatments and medical
  11    protocols are incomplete and the subject of expert opinion, and on that basis are
  12    denied by Defendants.
  13          42. In response to paragraph 59 of Plaintiff’s First Amended Complaint,
  14    Defendants lack sufficient information to admit or deny the allegations regarding
  15    Plaintiff’s current symptoms, testing, and medical care and on that basis deny the
  16    allegations. Defendants deny that any medical care or supervision of medical care
  17    violated the constitutional rights of Plaintiff, and deny that there was any custom
  18    and practice that violated the constitutional rights of inmate patients. Plaintiff’s
  19    allegations regarding his general health, medical condition, and hypothetical
  20    response to hypothetical treatments and medical protocols are incomplete and the
  21    subject of expert opinion, and on that basis are denied by Defendants.
  22               PARTICIPATION, STATE OF MIND, AND DAMAGES
  23          43. In response to paragraphs 60 to 64 of Plaintiff’s First Amended
  24    Complaint, Defendants deny they acted illegally, knew of violations and failed to
  25    prevent them, or ratified any violations. Defendants deny they are liable for the
  26    failures or omissions of any other defendants. Defendants deny they acted
  27    individually or in concert to violate Plaintiff’s rights. Defendants deny they acted
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   1    intentionally or with deliberate indifference to violate Plaintiff’s rights. Defendants
   2    deny any remaining allegations herein for lack of information and belief.
   3          44. In response to paragraphs 65 to 68 of Plaintiff’s First Amended
   4    Complaint, Defendants deny they provided Plaintiff with deficient, inadequate, or
   5    untimely medical care. Defendants deny they were deliberately indifferent to
   6    Plaintiff’s medical care. Defendants deny their actions or inactions injured
   7    Plaintiff. Defendants deny they acted willfully, maliciously, in bad faith, or with
   8    deliberate indifference. Defendants deny any remaining allegations herein for lack
   9    of information and belief.
  10                       FIRST CAUSE OF ACTION: 42 USC 1983
  11          45. In response to paragraph 69 of Plaintiff’s First Amended Complaint,
  12    Defendants re-allege and incorporate their responses to paragraphs 1 to 68 above.
  13          46. In response to paragraphs 70-72 of Plaintiff’s First Amended Complaint,
  14   Defendants deny they denied Plaintiff of any rights, privileges, or immunities.
  15   Defendants deny that the Fifth or Fourteenth Amendments apply to the provision of
  16   medical care to a prisoner. Defendants deny they acted with deliberate indifference
  17   to Plaintiff’s medical needs. Defendants deny that they delayed or denied Plaintiff
  18   access to proper medical care. Defendants deny any remaining allegations herein
  19   for lack of information and belief.
  20          47. In response to paragraphs 73 to 77 of Plaintiff’s First Amended
  21   Complaint, Defendants deny they conspired or otherwise acted to deprive Plaintiff
  22   of any constitutional rights. Defendants deny they ratified or acquiesced in any
  23   violations. Defendants deny they knowingly or in bad faith acted to violate
  24   Plaintiff’s rights or the law. Defendants deny Plaintiff was injured as a result of
  25   their actions or inactions, and deny that they acted willfully, maliciously, or in
  26   reckless disregard of Plaintiff’s rights. Defendants deny Plaintiff is entitled to any
  27   damages as a result of their actions or inactions. Defendants deny any remaining
  28   allegations for lack of information and belief.
                                                 14
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   1                          SECOND CAUSE OF ACTION: MONELL
   2          48. In response to paragraphs 78-83 of Plaintiff’s First Amended Complaint,
   3    these allegations are solely against County defendants, and do not reference CDCR
   4    Defendants, and therefore are not addressed by the CDCR defendants.
   5                                   PRAYER FOR RELIEF
   6          49. In response to Plaintiff’s prayer for relief in his First Amended
   7    Complaint, Defendants deny that Plaintiff is entitled to judgment, damages, costs,
   8    or attorneys’ fees.
   9                                  AFFIRMATIVE DEFENSES
  10          AS SEPARATE AND AFFIRMATIVE DEFENSES, Defendants allege as
  11    follows:
  12                             FIRST AFFIRMATIVE DEFENSE
  13          50.    The FAC fails to state a claim upon which relief can be granted. The
  14    FAC also fails to state a claim for relief against Defendants.
  15                            SECOND AFFIRMATIVE DEFENSE
  16          51.    Defendants deny that Plaintiff has been deprived of any rights,
  17    privileges, or immunities guaranteed by the laws of the United States or by the laws
  18    of the State of California.
  19                            THIRD AFFIRMATIVE DEFENSE
  20          52.    At all relevant times, Defendants acted within the scope of discretion,
  21    with due care, and good faith fulfillment of responsibilities pursuant to applicable
  22    statutes, rules and regulations, within the bounds of reason under the circumstances,
  23    and with the good faith belief that their actions comported with all applicable laws.
  24    Defendants therefore assert their qualified immunity from liability.
  25                            FOURTH AFFIRMATIVE DEFENSE
  26          53.    Plaintiff has suffered no actual injury due to Defendants’ conduct.
  27                             FIFTH AFFIRMATIVE DEFENSE
  28          54.    Defendants deny that they violated Plaintiff’s Fifth, Eighth, Fourteenth
                                                 15
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   1    Amendment rights, or any other state, federal, constitutional, or other rights.
   2                            SIXTH AFFIRMATIVE DEFENSE
   3          55.     Plaintiff’s own conduct estops him from claiming the damages alleged
   4    in the FAC. Plaintiff also failed to mitigate his damages.
   5                          SEVENTH AFFIRMATIVE DEFENSE
   6          56.     At all relevant times, each Defendant acted independently and not in
   7    association or concert with or as agent or servant of any other Defendant, including
   8    any sued herein under fictitious names, or of the employees or agents of other
   9    Defendants.
  10                           EIGHTH AFFIRMATIVE DEFENSE
  11          57.     Plaintiff’s claims are barred by all applicable statutes of limitations.
  12                            NINTH AFFIRMATIVE DEFENSE
  13          58.     Defendants are immune to suit for damages in their official capacities
  14    pursuant to the Eleventh Amendment of the U.S. Constitution.
  15                            TENTH AFFIRMATIVE DEFENSE
  16          59.     Plaintiff is not entitled to punitive damages because Defendants did
  17    not act with malicious intent to deprive Plaintiff of any constitutional right or to
  18    cause any injury.
  19                         ELEVENTH AFFIRMATIVE DEFENSE
  20          60.     Because the FAC is couched in conclusory terms, Defendants cannot
  21    fully anticipate all affirmative defenses that may be applicable to this action.
  22    Accordingly, the right to assert additional affirmative defenses, if and to the extent
  23    that such affirmative defenses are applicable, is hereby reserved.
  24                              DEMAND FOR A JURY TRIAL
  25          Defendants hereby demand a trial before a jury on all issues presented by
  26    Plaintiff’s First Amended Complaint triable to a jury.
  27          WHEREFORE, Defendants pray that:
  28          1. Judgment be rendered in favor of Defendants and against Plaintiff;
                                                   16
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   1           2. Plaintiff take nothing by his First Amended Complaint;
   2           3. Defendants be awarded costs of suit incurred herein; and
   3           4. Defendants be awarded such other and further relief as the Court may
   4    deem necessary and proper.
   5
        Dated: January 11, 2019                     Respectfully submitted,
   6
                                                    XAVIER BECERRA
   7                                                Attorney General of California
                                                    RICHARD F. WOLFE
   8                                                Supervising Deputy Attorney General
   9                                                /s/ WILLIAM R. PRICE
  10                                                WILLIAM R. PRICE
                                                    Deputy Attorney General
  11                                                Attorneys for Defendants John
                                                    Parsons, Donald B. Thornton,
  12                                                Bonifacio C. Esperanza, John Culton,
                                                    David Dunn, Nicholas Aguilera,
  13                                                Joseph Bick, Ray Andreasen, Nabil
                                                    Athanassious, Eli Richman, Balraj
  14                                                Dhillon, and Deepak Mehta
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                                CERTIFICATE OF SERVICE
  Case Name:      Richards v. Pickett               Case No.       5:18-cv-00912-JGB-SHK

  I hereby certify that on January 11, 2019, I electronically filed the following documents with
  the Clerk of the Court by using the CM/ECF system:
        DEFENDANTS JOHN PARSONS, DONALD B. THORNTON,
       BONIFACIO C. ESPERANZA, JOHN CULTON, DAVID DUNN,
     NICHOLAS AGUILERA, JOSEPH BICK, RAY ANDREASEN, NABIL
    ATHANASSIOUS, ELI RICHMAN, BALRAJ DHILLON, AND DEEPAK
         MEHTA’S ANSWER TO PLAINTIFF’S FIRST AMENDED
              COMPLAINT; DEMAND FOR JURY TRIAL
  I certify that all participants in the case are registered CM/ECF users and that service will be
  accomplished by the CM/ECF system.
  I declare under penalty of perjury under the laws of the State of California the foregoing is true
  and correct and that this declaration was executed on January 11, 2019, at San Diego,
  California.


                  E. Empero
                  Declarant                                            Signature

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